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 'JS 44 (Rev. 12/07)                                                     CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk of Court forthe purpose ofinitiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
 I. (a)   PLAINTIFFS                                                                                       DEFENDANTS
ACE AMERICAN INSURANCE COMPANY                                                                              LYNN TOWNSEND, Individually and as Executrix of the
                                                                                                            Estate of Robert P. Townsend, ARON G. WEINER, et al.
    (b) County of Residence of First Listed Plaintiff             Philadelphia Co., GA                     County of Residence of First Listed Defendant Chatham Co., GA
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                           LAND INVOLVED.

    (c) Attorney's (Finn Name, Address, and Telephone Number)                                               Attorneys (If Known)
Kenan G. Loomis, Cozen O'Connor, SunTrust Plaza, Suite 2200,
303 Peachtree Street, NE, Atlanta, Georgia 30308
 11. BASIS OF JURISDICTION (Place ass "X" in One Box Only) 1111. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X" in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                       and One Box for Defendant)
 O 1 U.S. Government                   3 Federal Question                                                                          PTF DEF                                              PTF       DEF
          Plaintiff                         (U.S. Government Not a Party)                          Citizen of This State           01   X1          Incorporated or Principal Place      04        04
                                                                                                                                                    of Business In This State

 O 2 U.S. Government                   4 Diversity                                                 Citizen of Another State        02      0 2 Incorporated and Principal Place               5    05
          Defendant                                                                                                                                 of Business In Another State
                                              (Indicate Citizenship of Parties in Item 11!)
                                                                                                   Citizen or Subject of           03      0 3 Foreign Nation                            0 6       06




 X 110 Insurance                    PERSONAL INJURY                    PERSONAL INJURY             O 6loAgriculture                     422 Appeal 28 USC 158               400 State Reapportionment
 0 120 Marine                     0 3l0Airplane                    0 362 Personal Injury -         O 620 Other Food & Drug              423 Withdrawal                      410 Antitrust
 0 130 Miller Act                 0 315 Airplane Product                  Med. Malpractice         O 625 Drug Related Seizure               28 USC 157                      430 Banks and Banking
 0 140 Negotiable Instrument             Liability                 0 365 Personal Injury -               of Property 21 USC 881                                             450 Commerce
 0 150 Recovery of Overpayment 0 320 Assault, Libel &                     Product Liability        O 630 Liquor Laws                                                        460 Deportation
       & Enforcement ofJudgment          Slander                   0 368 Asbestos Personal         0 640RR&Truck                         820 Copyrights                     470 Racketeer Influenced and
 0 151 Medicare Act               0 330 Federal Employers'                 Injury Product          O 650 Airline Regs.                   830 Patent                             Corrupt Organizations
 0 152 Recovery of Defaulted             Liability                        Liability                0 660 Occupational                    840 Trademark                      480 Consumer Credit
        Student Loans             0 340 Marine                      PERSONAL PROPERTY                     Safety/Health                                                     490 Cable/Sat TV
        (Excl. Veterans)          0 345 Marine Product             0 370 Other Fraud               0 690 Other                                                              810 Selective Service
 0 153 Recovery of Overpayment           Liability                 0 371 Truth in Lending                                                                                   850 Securities/Commodities/
        of Veteran's Benefits     0 350 Motor Vehicle              0 380 Other Personal               710 Fair Labor Standards           861 HIA (139511)                       Exchange
 o 160 Stockholders' Suits        0 355 Motor Vehicle                     Property Damage                 Act                            862 Black Lung (923)               875 Customer Challenge
 O 190 Other Contract                    Product Liability         0 385 Property Damage              720 Labor/Mgmt. Relations          863 DIWCIDIWW (405(g))                 12 USC 3410
 0 195 Contract Product Liability 0 360 Other Personal                    Product Liability           730 Labor/Mgmt.Reporting           864 SSID Title XVI                 890 Other Statutory Actions
 O 196 Franchise                         Injury                                                          & Disclosure Act                                                   891 Agricultural Acts
                                                                                                      740 Railway Labor Act                                                 892 Economic Stabilization Act
 0 210 Land Condemnation       0 441 Voting                             510 Motions to Vacate         790 Other Labor Litigation         870 Taxes (U.S. Plaintiff          893 Environmental Matters
 0 220 Foreclosure             0 442 Employment                             Sentence                  791 EmpI. Ret. Inc.                     or Defendant)                 894 Energy Allocation Act
 0 230 Rent Lease & Ejectment 0 443 Housing/                            Habeas Corpus:                    Security Act                   871 IRS— .Third Party              895 Freedom of Information
 0 240 Torts to Land                  Accommodations                    530 General                                                          26 USC 7609                        Act
 0 245 Tort Product Liability  0 444 Welfare                            535 Death Penalty                                                                                   900AppeaI of Fee Determination
 0 290 All Other Real Property 0 445 Amer. wlDisabilities               540 Mandamus & Other                                                                                    Under Equal Access
                                      Employment                        550 Civil Rights              463 Habeas Corpus -                                                       to Justice
                               0 446 Amer. w/Disabilities               555 Prison Condition             Alien Detainee                                                     950 Constitutionality of
                                      Other                                                           465 Other Immigration                                                     State Statutes
                               0 440 Other Civil Rights                                                  Actions



 V. ORIGIN                (Place an "X" in One Box Only)                                                                                                                                      110 District
     Original              2 Removed from             1J 3 Remanded from                      J 4 Reinstated or 1J 5 Transferred from                  6 Multidistrtct            7
                                                                                                                                                                                              from
     Proceeding               State Court                         Appellate Court                  Reopened          another district                    Litigation
                                                                                                                     (soecifv)
                                                                udgment,
                                                              ltatute under
 VI.     CAUSE OF ACTION
                                            ef description of cause:
                                            eclaratory Judgment Action regarding an insurance policy
 VII.    REQUESTED IN                        CHECK IF THIS IS CLASS ACTION                            DEMAND $                                  CHECK YES only ifdemanded in complaint:
         COMPLAINT:                          UNDER F.R.C.P. 23                                                                                  JURY DEMAND:        0 Yes i2f No
 VIII.    RELATED CASE(S)
                                            (See instructions):
          IF ANY                                                   JUDGE                                                                 DOCKET NUMBER
  DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
   06/09/2009                                                         s/ Kenan G. Loomis
  FOR OFFICE USE ONLY

   RECEIPT #                   AMOUNT                                     APPLYING IFP                                     JUDGE                            MAG. JUDGE
